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                                                                                    Revised May 2, 2022




 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK
 ---------------------------------------------------X
 Eman Soudani
                               Plaintiff(s),              CIVIL CASE DISCOVERY PLAN
                                                          AND SCHEDULING ORDER
 v.
   Mout'z Soudani                                          _23____CV__9905__(PMH)

                                 Defendant(s).
 ---------------------------------------------------X

   This Civil Case Discovery Plan and Scheduling Order is adopted, after consultation with
counsel and any unrepresented parties, pursuant to Fed. R. Civ. P. 16 and 26(f):

      1. All parties [consent] [do not consent] to conducting all further proceedings before a
         Magistrate Judge, including motions and trial, pursuant to 28 U.S.C. § 636(c). The parties
         are free to withhold consent without adverse substantive consequences. (If all parties
         consent, the remaining paragraphs of this form need not be completed and the parties shall
         file a fully executed Notice, Consent, and Reference of a Civil Action to a Magistrate Judge
         (form AO 85) using the ECF Filing Event “Proposed Consent to Jurisdiction by US
         Magistrate Judge” prior to the Initial Pretrial Conference at which time such scheduled
         conference will be cancelled.)

      2. This case [is] [is not] to be tried to a jury.

      3. Amended pleadings may not be filed and additional parties may not be joined except with
         leave of the Court. Any motion to amend or to join additional parties shall be filed by
         ____________________.
          03/21/2024              (Absent exceptional circumstances, 30 days from date of this
         Order.)

      4. Initial disclosures pursuant to Fed. R. Civ. P. 26(a)(1) shall be completed by
         ____________________.
          03/05/2024              (Absent exceptional circumstances, 14 days from date of this
         Order.)

      5. Fact Discovery

              a. All fact discovery shall be completed by ____________________.
                                                                    08/19/2024               (Absent
                 exceptional circumstances, a period not to exceed 120 days from date of this Order.)

              b. Initial requests for production          of   documents    shall   be    served    by
                 ____________________.
                   03/20/2024

              c. Interrogatories shall be served by ____________________.
                                                      03/20/2024
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       d. Non-expert depositions shall be completed by ____________________.
                                                              08/06/2024

       e. Requests to admit shall be served by ____________________.
                                                 08/26/2024

       f. Any of the interim deadlines in paragraphs 5(b) through 5(e) may be extended by
          the written consent of all parties without application to the Court, provided that all
          fact discovery is completed by the date set forth in paragraph 5(a).

6. Expert Discovery

       a. All expert discovery, including expert depositions, shall be completed by
          ____________________.
              10/01/2024              (Absent exceptional circumstances, 45 days from date in
          paragraph 5(a); i.e., the completion of all fact discovery.)

       b. Plaintiff’s expert disclosures pursuant to Fed. R. Civ. P. 26(a)(2) shall be made by
          ____________________.
           09/13/2024

       c. Defendant’s expert disclosures pursuant to Fed. R. Civ. P. 26(a)(2) shall be made
          by ____________________.
               09/23/2024

       d. The interim deadlines in paragraphs 6(b) and 6(c) may be extended by the written
          consent of all parties without application to the Court, provided that all expert
          discovery is completed by the date set forth in paragraph 6(a).

7. Additional provisions required by Fed. R. Civ. P. 26(f) and agreed upon by the parties are
   attached hereto and made a part hereof.

8. ALL DISCOVERY SHALL BE COMPLETED BY ____________________. 10/01/2024               (Absent
   exceptional circumstances, this date should align with the close of expert discovery.)

9. The parties shall file a joint letter concerning settlement/mediation by _______________.
                                                                              09/03/2024
   (Unless otherwise ordered by the Court, within 14 days after the close of fact discovery).

10.    a. Counsel for the parties have discussed an informal exchange of information in aid
          of an early settlement of this case and have agreed upon the following:
           __________________________________________________________________
            Counsel for the parties have an upcoming settlement
           __________________________________________________________________
            conference scheduled for June 17, 2024.
           __________________________________________________________________

       b. Counsel for the parties have discussed the use of the following alternate dispute
          resolution mechanisms for use in this case: (i) a settlement conference before a
          Magistrate Judge; (ii) participation in the District’s Mediation Program; and/or (iii)
          retention of a privately retained mediator. Counsel for the parties propose the
          following alternate dispute resolution mechanism for this case: ________________
                                                                                  (i)
          __________________________________________________________________

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          c. Counsel for the parties recommend that the alternate dispute resolution mechanism
              designated in paragraph b, be employed at the following point in the case (e.g.
              within the next sixty days; after the deposition of plaintiff is completed (specify
              date); after the close of fact discovery)___________________________________
              __________________________________________________________________
             The   settlement conference is scheduled for June 17, 2024.

          d. The use of any alternative dispute resolution mechanism does not stay or modify
             any date in this Order.

   11. All motions and applications shall be governed by the Court’s Individual Practices,
       including the requirement of a pre-motion conference before a motion for summary
       judgment is filed.

   12. Unless otherwise ordered by the Court, within 30 days after the date for the completion of
       discovery, or, if a dispositive motion has been filed, within 30 days after a decision on the
       motion, the parties shall submit to the Court for its approval a Joint Pretrial Order prepared
       in accordance with the Court’s Individual Practices. The parties shall also comply with the
       Court’s Individual Practices with respect to the filing of other required pretrial documents.

   13. The parties have conferred and their present best estimate of the length of the trial is
       ____________________.
        2-3 weeks

   14. This Civil Case Discovery Plan and Scheduling Order may not be modified or the dates
       herein extended without leave of the Court or the assigned Magistrate Judge acting under
       a specific order of reference (except as provided in paragraphs 5(f) and 6(d) above).

   15. The   Magistrate  Judge   assigned            to     this    case    is    the    Honorable
       ______________________________.
       Andrew  E.  Krause

   16. If, after the entry of this Order, the parties consent to trial before a Magistrate Judge, the
       Magistrate Judge will schedule a date certain for trial and will, if necessary, amend this
       Order consistent therewith.

   17. The case management conference scheduled for September 4, 2024 is adjourned to
       November 13, 2024 at 10:00 a.m.

Dated: White Plains, New York
       June 10, 2024

                                                     SO ORDERED:


                                                     ___________________________________
                                                     Philip M. Halpern
                                                     United States District Judge


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